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                                                                                   JENNIFER A. GOLINVEAUX
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   July 15, 2020

   VIA ECF

   Magistrate Judge Michael E. Hegarty
   Alfred A. Arraj United States Courthouse
   Courtroom A-501, 5th Floor
   901 19th Street
   Denver, CO 80294

   Re:    Warner Records, et al. v. Charter Communications, Inc., Case No. 1:19-cv-00874-RBJ-MEH

   Dear Judge Hegarty:

           Defendant Charter Communications, Inc. (“Charter”) writes to inform the Court of a recent
   decision granting Charter’s Motion to Transfer Charter’s Motion to Compel MarkMonitor to
   Comply with Charter’s Subpoena Duces Tecum from the Northern District of California to the
   present Court. See Exhibits A and B. Judge Sallie Kim, who issued the order from the Northern
   District of California, transferred this case, in part, in deference to the work being done by the
   Special Master on related issues. See id. at 2. We would respectfully request that it be forwarded
   to the Special Master pursuant to the Court’s referral of “all discovery matters” in this case. See
   ECF No. 143, Order Appointing Special Master for Discovery.

   Respectfully submitted,

   s/ Jennifer A. Golinveaux
   Jennifer A. Golinveaux

   cc: All Counsel (via ECF)
